Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:

Debtor 1               Brandon Yopp                                                                               According to the calculations required by this
                                                                                                                  Statement:
Debtor 2                                                                                                                1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                           11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:         Eastern District of Michigan                                            2. Disposable income is determined under 11
                                                                                                                           U.S.C. § 1325(b)(3).
Case number
(if known)
                                                                                                                        3. The commitment period is 3 years.

                                                                                                                        4. The commitment period is 5 years.

                                                                                                                      Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                   10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:          Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
   the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                            $       10,000.00          $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                              $               0.00       $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                                 0.00       $              0.00
  5. Net income from operating a business,
     profession, or farm                                Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                      0.00       $              0.00
  6. Net income from rental and other real property                 Debtor 1
     Gross receipts (before all deductions)                           $      0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from rental or other real property            $       0.00 Copy here -> $                      0.00       $              0.00




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                              page 1

                      24-40667-mlo          Doc 3         Filed 01/24/24               Entered 01/24/24 12:12:36                          Page 1 of 4
Debtor 1     Brandon Yopp                                                                                Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
                                                                                                     $                  0.00      $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                       $                  0.00      $           0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
        For you                                             $                 0.00
           For your spouse                                       $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence,
     do not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any
     retired pay paid under chapter 61 of title 10, then include that pay only to the extent
     that it does not exceed the amount of retired pay to which you would otherwise be
     entitled if retired under any provision of title 10 other than chapter 61 of that title.        $                  0.00      $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
      the United States Government in connection with a disability, combat-related injury
      or disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                     $                  0.00      $           0.00
                                                                                                     $                  0.00      $           0.00
                Total amounts from separate pages, if any.                                       +   $                  0.00      $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.            $       10,000.00             +$             0.00   =$       10,000.00

                                                                                                                                                   Total average
                                                                                                                                                   monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                    $       10,000.00
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                             $
                                                                                             $
                                                                                        +$

                   Total                                                                 $                      0.00         Copy here=>       -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                             $       10,000.00

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                               $       10,000.00




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 2


                24-40667-mlo              Doc 3        Filed 01/24/24               Entered 01/24/24 12:12:36                          Page 2 of 4
Debtor 1     Brandon Yopp                                                                                 Case number (if known)


               Multiply line 15a by 12 (the number of months in a year).                                                                                   x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................              $    120,000.00


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                               MI

      16b. Fill in the number of people in your household.                     5
      16c. Fill in the median family income for your state and size of household.                                                                      $    119,831.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form,
                    copy your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                     $                10,000.00
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                     -$                    0.00


      19b. Subtract line 19a from line 18.                                                                                                         $         10,000.00


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                               $     10,000.00

             Multiply by 12 (the number of months in a year).                                                                                              x 12

      20b. The result is your current monthly income for the year for this part of the form                                                            $    120,000.00




      20c. Copy the median family income for your state and size of household from line 16c                                                            $    119,831.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Brandon Yopp
       Brandon Yopp
       Signature of Debtor 1
      Date January 24, 2024
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                               page 3


                24-40667-mlo               Doc 3          Filed 01/24/24               Entered 01/24/24 12:12:36                            Page 3 of 4
Debtor 1   Brandon Yopp                                                           Case number (if known)




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period          page 4


             24-40667-mlo         Doc 3      Filed 01/24/24        Entered 01/24/24 12:12:36               Page 4 of 4
